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                   Thomas-Jensen
                    Affirmation



                      Exhibit # 115
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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND


    STATE OF NEW YORK, et al.,

                                  Plaintiffs,
                                                       Civil Action No. 1:25-cv-00039-JJM
               v.
                                                       DECLARATION OF LACY
                                                       FEHRENBACH-MAROSFALVY
    DONALD TRUMP, et al.,

                                  Defendants.



                         Declaration of Lacy Fehrenbach-Marosfalvy

     I, Lacy Fehrenbach-Marosfalvy, hereby declare:

         1.      I am over the age of 18, competent to testify as to the matters herein, and make this

  declaration based on my personal knowledge and the records of the Washington Department of

  Health (DOH) to which I have access.

         2.      I am the Chief of Prevention, Safety, and Health with DOH. In this role, I serve as

  a member of DOH’s exec leadership team, oversee the work Executive Office of Prevention,

  Safety and Health set the strategic direction of the agency, ensure that we comply with all

  applicable federal and state laws and regulations, and, at the most basic level, work to protect and

  improve the health and well-being of all people in Washington state.

         3.      I have focused my career on shaping policies and implementing programs that

  address social and environmental factors that impact health outcomes and inequities so that all

  people, families, and communities can thrive. Before I began my current role, I served as Deputy

  Secretary of Health for COVID-19 response from June 2020 through January 2022. Prior to the

  pandemic, I served as Assistant Secretary of the Prevention and Community Health division.

  Before coming to Washington state, I worked on national public health policy in Washington, DC.

  I have more than 15 years of public health management and leadership experience, working on an


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  array of issues including health system reform, access to healthcare, child and family health,

  infectious disease, and chronic disease, injury and violence prevention, and environmental health.

  I have managed various grants and cooperative agreements issued by the federal government

  during my career, and over the past nine years, I provided oversight and strategic direction to

  several major sources of federal funding related to environmental health and safety, infectious

  disease, chronic disease prevention, injury and violence prevention, child and family health, and

  access to healthcare and social services received by the state of Washington. I holds a BS in

  Molecular and Cell Biology from Texas A&M University, an MPH from the George Washington

  University and I am certified in public health.

         4.      I am aware of the January 27, 2025, memorandum from Office of Management and

  Budget Acting Director Matthew J. Vaeth regarding a “Temporary Pause of Agency Grant, Loan,

  and Other Financial Assistance Programs.” This memorandum directs all federal agencies to,

  among other things, “temporarily pause all activities related to obligation or disbursement of all

  Federal financial assistance” for an undisclosed amount of time. If this such a pause went into

  effect—whether because of this Memorandum or any similar directive—it would have a

  devastating effect on DOH, its operations, and the health and well-being of Washington residents.

         5.      For fiscal year 2024, DOH received over $590 million in federal financial

  assistance. We expect to receive more than $475 million fiscal year 2025.

         6.      This federal funding is essential to the operation of numerous critical programs on

  which DOH and Washingtonians rely.

  Immunization Cooperative Agreements

         7.      The single largest source of federal funding DOH receives come from

  Immunization Cooperative Agreements from the federal Department of Health and Human

  Services. In FY 2024, DOH received and spent $152 million from this program.

         8.      This program provides a safety net of immunizations to vulnerable populations at

  risk for vaccine-preventable diseases, including children who are Medicaid-eligible, American

  Indian/Alaksa Native children, and children and adults without health insurance.

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         9.      DOH uses this money to fund universal childhood vaccine program, which DOH

  manages, and through which we provide vaccines to all children in Washington using a

  combination of state and federal funding. Under the program, DOH purchases every childhood

  vaccine that is administered and delivers them to providers enrolled in the program. The provider

  does not bill the child’s family or family’s insurer cost of vaccine, although providers may bill

  insurance for the administration of vaccines. This program has been in place for well over a three

  decades, and the current financing structure has been in place for more than 15 years. DOH and

  the State of Washington rely on federal funding for this private-public partnership to function.

  Federal funds go to vaccine purchase and program operations for uninsured children and

  Washington’s Medicaid-eligible population (subject to state match). The Washington Vaccine

  Association collects funds from health insurers and third-party administrators (payers) and remits

  them to the state to cover the costs of vaccines and program operations for privately insured

  children within the universal childhood vaccine program. Program operations include the

  organizational infrastructure to project need and uptake, order, and distribute vaccines to providers

  and ensure quality assurance among enrolled vaccine providers.

         10.     DOH also uses federal funds to purchase vaccines for uninsured adults from the

  CDC contract and distribute them to providers.

         11.     DOH purchases pediatric and adult vaccines through the CDC contract at a reduced

  rate. The vaccines are administered by 979 DOH-enrolled providers across the state of

  Washington, including in every county in Washington. In FY2024, DOH distributed more than 1.4

  million vaccine doses to children, values at $113 million, and 41,000 vaccine doses to adults,

  valued at $2.9 million.

         12.     Federal immunization funding supports approximately 150 FTEs at DOH who

  support the operations of the universal childhood vaccine program and the adult vaccine program,

  and who support outreach and education to the public and health care providers to ensure everyone

  has access to evidenced based information about vaccines and providers follow clinical standards.

         13.     If this federal funding were frozen or paused, and we could not access the allocated

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  federal funds, it would severely limit our State’s ability to purchase and provide vaccines to

  vulnerable Washingtonians, and we would only be able to provide vaccines to children and adults

  for about one month.

         14.     Further, some vaccines are only available for purchase from the CDC contract

  during a narrow window. For example, flu vaccines are typically only available for purchase in

  late winter or early spring for the following respiratory virus season. If we miss such a window

  due to a pause and funding begins to flow later, DOH would need to order off the commercial

  market and incur a greater purchase cost for these vaccines. Generally, the costs of vaccines are

  about 30% higher in the private sector than they are off the CDC contract.

         15.     This would at minimum significantly disrupt and at worst cause chaos that could

  jeopardize Washington’s universal childhood vaccine program.

         16.     The adult vaccine program includes a smaller number of vaccines and applies only

  to adults without insurance. Without DOH’s ability to pay for vaccines and centralize this process,

  this program would stop purchasing and providing adult vaccines.

         17.     Combined, these disruptions could cause delays in vaccination among Washington

  children and uninsured adults, which increases risks for vaccine-preventable illness and possible

  negative health outcomes from these, including severe illness requiring hospitalization, disability,

  or even death associated with some of these diseases. The delays in access to routine,

  recommended vaccines could also impact a family’s ability to meet childcare or school vaccination

  requirements. These health and other impacts could more significantly impact people and families

  with low incomes or who lack insurance.

         18.     In addition, depending on how long DOH went without funding and how broadly

  access to vaccinations is impacted, communities in Washington state may face increased risk for

  outbreaks of vaccine preventable illness.

  WIC

         19.     DOH’s second-largest source of federal financial aid is the USDA’s Special

  Supplemental Nutrition Program for Women, Infants, and Children, commonly known as WIC.

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  WIC provides free, healthy foods, personalized nutrition education, breastfeeding support, and

  referrals to other community services, ensuring that families have the support needed for a healthy

  start.

           20.   In FY2024, WIC served over 205,000 participants, with a total food redemption of

  over $112 million in stores and farmers’ markets across Washington.

           21.   In addition to direct benefits administered by DOH, federal financial assistance

  covered DOH’s operational expenditures to maintain Washington’s 208 WIC clinics statewide and

  provide supports for families. All told, in FY2024, DOH received and spent over $142 million in

  federal funds on its WIC program.

           22.   WIC is entirely federal funded. Without federal funds, the program simply wouldn’t

  exist.

           23.   Even a temporary pause or freeze on WIC funding would be devastating. If WIC

  funding were paused, but DOH were permitted to draw funds currently allocated, we would have

  enough funding to provide services for a few months, currently estimated to the end of April. If

  the federal government froze accounts and we could not draw funds currently allocated, we could

  only make it about two weeks before we had to start denying benefits to families.

           24.   In addition to the harm to Washington families dependent on WIC, a funding freeze

  would also harm DOH and its contractors. There are about 80 DOH employees whose salary is

  paid for by WIC, who might have to be laid off if funds are frozen. And WIC clinics all over the

  State of Washington may also be forced to would have to lay off employees or furlough over 650

  employees as soon as the money runs out—as soon as two weeks from any freeze going into effect.

           25.   Finally, freezing WIC would have a negative impact on grocery retailers who

  accept WIC, which could impact Washington’s economy.

           26.   Finally, any potential pause or gap in funding creates confusion among current WIC

  clients and families who may be eligible and may lead to reduced redemption of WIC benefits

  among current clients and reduced enrollment among WIC eligible families. In the days following

  the release of the OMB memo signaling a funding pause, DOH’s staff fielded more than 30 calls

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  from the state’s community-based WIC agencies inquiring if services remained available. Nearly

  half of our service agencies reached out with concerns or questions. Individual clinics fielded

  hundreds of calls from the public concerned they couldn’t access their food benefits.

         Epidemiology and Laboratory Capacity for Infectious Diseases

         27.     The third-largest piece of federal financial assistance to DOH are Epidemiology

  and Laboratory Capacity for Infectious Diseases Grants from the Department of Health and Human

  Services.

         28.     In FY2024, DOH received and spent just over $126 million from this program

  which includes supplemental funding for the COVID-19 pandemic

         29.     These grants fund planning and response to communicable disease cases and

  outbreaks in Washington State, both existing and emerging. This includes the foundational work

  of laboratory testing, disease surveillance, disease control guidance, and case and outbreak

  response. The major areas of work span the disease areas including:

                 •      Foodborne, waterborne, and enteric diseases, such as norovirus or

                        salmonella;

                 •      Vaccine-preventable diseases, such as measles or pertussis (whooping

                        cough);

                 •      Zoonotic and vector-borne diseases, such as rabies or highly pathogenic

                        avian influenza;

                 •       Rare but serious infectious diseases, such as Ebola and Marburg;

                 •      Sexually transmitted infections like congenital syphilis; and

                 •      Healthcare-associated infections, such as MRSA and surgical sight

                        infections

         30.     This funding is used for laboratorians who perform critical disease testing at the

  state lab, epidemiologists who provide subject matter expertise guidance, communication and

  response, and informaticians and epidemiologists who support surveillance (including systems) of

  existing and emerging diseases. Some funding is also passed through to local health jurisdictions

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  to prevent infections in hospitals and monitor the spread of West Nile Virus. All of this work is

  focused on preventing and reducing the impact of disease among the people of Washington.

         31.     These services benefit basically the entire population of the state and beyond,

  because diseases can spread without respect for geopolitical borders. Pausing or freezing these

  funds would hobble DOH’s core work with respect to infectious diseases.

         32.     This funding directly supports the salaries of more than 390 DOH employees

  performing crucially important public health work. If this funding were paused and we could not

  draw against our allocation, DOH would have to immediately furlough employees and/or lay

  people off, reduce capacity for testing, and scale back its work significantly. If layoffs occurred,

  even if funding were to be restored later, it would be very challenging to recruit highly trained

  technical staff back into DOH; regaining lost capabilities would take years if it were possible at

  all.

         33.     It is no exaggeration to say that if Washington and other states don’t get this funding

  and must stop this work, the people in our state and other states would be at greater risk for illness

  from a variety of infectious diseases, some of which cause severe illness, disability or death. In

  addition, communities across our state and beyond could see more and larger outbreaks of

  infectious diseases. Beyond health impacts, more and larger school or work-place outbreaks of

  some infectious diseases could disrupt learning, productivity, and societal functioning. In short,

  people, communities, our state, and the nation would be more vulnerable to infectious diseases and

  outbreaks, and we’d all be less safe.

  Other Programs

         34.     The three programs discussed above are the highest-dollar DOH programs funded

  by federal financial assistance, but they are far from the only important programs at risk from a

  federal funding freeze.

         35.     Other programs that depend on federal financial assistance include:

                 a.      The Sexual and Reproductive Health Program: in FY2024 the Sexual and

                 Reproductive Health Program served over 110,000 clients through $4.5 million in

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             federal Title X and $13 million Washington State general fund dollars. This

             program provides healthcare services for low incomes and un-/underinsured people

             including contraceptives, STI testing, STI treatment, prevention education, and

             cancer screenings, on a sliding scale based on patient income.; If we could draw

             funds currently allocated, DOH would have enough funding to provide services

             through the end of April. If they froze accounts, and we could not draw, we would

             not have enough funding to fulfill existing contracts, which will directly impact the

             financial stability of some of our contractors and will lead to reduced access to

             services for clients. Title X federal funds are approximately 34% of our total annual

             funding for sexual and reproductive health services (excluding abortion services).

             Given this, we estimate that up to 37,400 fewer clients would be served each year

             without federal funding and that could lead to a corresponding increase in

             unintended pregnancies, abortions, and healthcare costs. The actual impact would

             depend on the duration of the freeze.
             b.     Breast, Cervical Cancer and Colorectal Health: In FY23 the Breast,

             Cervical, and Colon Health program (BCCHP) supported direct clinical services to

             over 9,700 uninsured/underinsured clients and is anticipated to reach almost 11,000

             participants in FY24. In FY23, $7.7 million ($7.2M federal, $568,00 state) in

             funding provided access to life-saving breast and cervical cancer screening services

             and supports colorectal cancer screening through health systems change, increasing

             access and appropriate follow up for high-risk and under-screened populations in

             Washington. If we are allowed to draw on funds currently allocated, the program

             would continue contracting and partnership with over 300 clinical systems,

             hospitals, clinics, and laboratories across the state of Washington and would be able

             to sustain operations through the end of the current federal fiscal year. If we are

             unable to access allocated federal funds, we would have enough funding to operate

             the program for two weeks before having to halt program operations. At that time,

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               we would lay off at least 3 FTE and require our contractors to suspend the provision

               of these critical screening and treatment services for un/underinsured clients. Most

               importantly, a pause in service provision could significantly delay screening or

               treatment for eligible Washington residents. Delays, even of a few weeks, in

               diagnosis or treatment for breast, cervical, and colorectal cancer can have

               significant negative impacts on survival.

               c. And dozens of other programs that support the health and well-being of

               Washingtonians.

       36. A freeze on federal funds would jeopardize all of these services and put countless

Washingtonians at risk of worse health outcomes including severe illness, disability, and death.

       I declare under penalty of perjury under the laws of the State of Washington and the

United States of America that the foregoing is true and correct.

       Executed this 5th day of February 2025, in Qlympia, Was}




                                              L^Qy FEHRE^3ACH-M^O§FAL^Y
                                              Chief of Prevention, Safety^ and Healf
                                              Washington Department of Health
